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 9                          UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11                              SAN FRANCISCO DIVISION
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13   IN RE: CATHODE RAY TUBE (CRT)           Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________    MDL No. 1917
     This Document Relates to:
15                                           [PROPOSED] ORDER GRANTING FINAL
                                             APPROVAL OF CLASS ACTION
16   ALL DIRECT PURCHASER ACTIONS            SETTLEMENTS WITH HITACHI AND
                                             SAMSUNG SDI DEFENDANTS
17
                                             Date: August 22, 2014
18                                           Time: 10:00 a.m.
                                             Judge: Honorable Samuel Conti
19                                           Courtroom: 1
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     [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENTS WITH HITACHI
     AND SAMSUNG SDI—CV-07-5944-SC
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 1          On August 1, 2014, Direct Purchaser Plaintiffs filed a Motion for Final Approval of Class

 2   Action Settlements with: Hitachi, Ltd.; Hitachi Displays, Ltd. (n/k/a Japan Display Inc.) (“Hitachi

 3   Displays”); Hitachi America, Ltd.; Hitachi Asia, Ltd.; Hitachi Electronic Devices (USA) Inc.

 4   (collectively, “Hitachi”); and Samsung SDI Co. Ltd. (f/k/a Samsung Display Devices Co., Ltd.);

 5   Samsung SDI America, Inc.; Samsung SDI Brasil, Ltd.; Tianjin Samsung SDI Co., Ltd.; Samsung

 6   Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; SDI Mexico S.A. de C.V. (collectively,

 7   “Samsung SDI”). The Court, having reviewed the motion, the settlement agreement between the

 8   Plaintiffs and Hitachi (“Hitachi Settlement Agreement”) and the settlement agreement between the

 9   Plaintiffs and Samsung SDI (“Samsung SDI Settlement Agreement”) (collectively the “Settlement

10   Agreements”), the pleadings and other papers on file in this action, and the statements of counsel

11   and the parties, hereby finds that the motion should be GRANTED.

12          NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

13          1.      The Court has jurisdiction over the subject matter of this litigation, and all actions

14   within this litigation and over the parties to the Settlement Agreements, including all members of

15   the Class and the Defendants.

16          2.      For purposes of this Order, except as otherwise set forth herein, the Court adopts

17   and incorporates the definitions contained in the Settlement Agreements.

18          3.      Pursuant to Fed. R. Civ. P. 23(g), Lead Counsel, previously appointed by the Court

19   (Saveri & Saveri, Inc.), is appointed as counsel for the Class. Saveri & Saveri, Inc. has and will

20   fairly and competently represent the interests of the Class.

21          4.      Pursuant to Federal Rule of Civil Procedure 23, the Court determines that the

22   following settlement class be certified:

23          All persons and entities who, between March 1, 1995 and November 25, 2007, directly
            purchased a CRT Product in the United States from any defendant or subsidiary or
24          affiliate thereof, or any co-conspirator. Excluded from the Class are defendants, their
            parent companies, subsidiaries and affiliates, any co-conspirator, all governmental
25          entities, and any judges or justices assigned to hear any aspect of this action.
            5.      CRT Products refers to all forms of Cathode Ray Tubes, as well as to
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     devices that contain CRTs. It includes CPTs, CDTs, monochrome display tubes, and the
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     finished products that contain them—televisions and monitors.
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 1           6.      The Court further finds that the prerequisites to a class action under Rule

 2   23 are satisfied for settlement purposes in that: (a) there are hundreds of geographically

 3   dispersed class members, making joinder of all members impracticable; (b) there are

 4   questions of law and fact common to the class which predominate over individual issues;

 5   (c) the claims or defenses of the class plaintiffs are typical of the claims or defenses of

 6   the class; (d) the plaintiffs will fairly and adequately protect the interests of the class, and

 7   have retained counsel experienced in antitrust class action litigation who have, and will

 8   continue to, adequately represent the class; and (e) a class action is superior to individual

 9   actions.

10           7.         The Court hereby finally approves and confirms the settlements set forth in the

11   Settlement Agreements and finds that said settlements are, in all respects, fair, reasonable and

12   adequate to the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

13           8.      This Court hereby dismisses on the merits and with prejudice the Action in

14   favor of Hitachi and in favor of Samsung SDI, with each party to bear their own costs and

15   attorneys’ fees.

16           9.      The Hitachi Releasees and Samsung SDI Releasees are hereby and forever

17   released and discharged with respect to any and all claims or causes of action which the

18   Releasors had or have arising out of or related to any of the Released Claims as defined

19   in the Settlement Agreements.

20           10.     The notice given to the Class of the settlements was the best notice

21   practicable under the circumstances, including individual notice to all members of the

22   Class who could be identified through reasonable efforts. Said notice provided due and

23   adequate notice of those proceedings and of the matters set forth therein, including the

24   proposed settlements set forth in the Settlement Agreements, to all persons entitled to

25   such notice, and said notice fully satisfied the requirements of Rules 23(c)(2) and

26   23(e)(1) of the Federal Rules of Civil Procedure and the requirements of due process.

27           11.     The Plan of Allocation set forth in the Class notice is, in all respects, fair,

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 1   adequate, and reasonable. Accordingly, the Court hereby grants final approval of the Plan

 2   of Allocation.

 3          12.       Without affecting the finality of the Judgments in any way, this Court

 4   hereby retains continuing jurisdiction over: (a) implementation of these settlements and

 5   any distribution to Class Members pursuant to further orders of this Court; (b) disposition

 6   of the Settlement Funds; (c) hearing and determining applications by plaintiffs for

 7   attorneys’ fees, costs, expenses, and interest; (d) the Action until the Final Judgments

 8   contemplated hereby have become effective and each and every act agreed to be

 9   performed by the parties all have been performed pursuant to the Settlement Agreements;

10   (e) hearing and ruling on any matters relating to the plan of allocation of settlement

11   proceeds; and (f) all parties to the Action and Releasors for the purpose of enforcing and

12   administering the Settlement Agreements and the mutual releases and other documents

13   contemplated by, or executed in connection with the Settlement Agreements.

14          13.       In the event that the settlements do not become effective in accordance

15   with the terms of the Settlement Agreements, then the Judgments shall be rendered null

16   and void and shall be vacated, and in such event, all orders entered and releases delivered

17   in connection herewith shall be null and void and the parties shall be returned to their

18   respective positions ex ante.

19          14.       The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of

20   Civil Procedure, that Final Judgments should be entered and further finds that there is no

21   just reason for delay in the entry of Judgments, as Final Judgments, as to the parties to the

22   Settlement Agreements. Accordingly, the Clerk is hereby directed to enter Judgments

23   forthwith for Hitachi and Samsung SDI.

24          IT IS SO ORDERED.

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             July 22, 2015
     Dated: _____________________                           ________________________________
27                                                          Hon. Samuel Conti
                                                            United States District Judge
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     [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENTS WITH HITACHI
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